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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                 4:05CR3032
           v.                       )
                                    )
SILVANO MICHEL,                     )
                                    )                    ORDER
                  Defendant.        )
                                    )



     IT IS ORDERED:

     1. The parties’ joint oral motion to continue is granted
and the change of plea hearing is continued from December 19,
2005 to January 13, 2006 at 1:00 p.m. before the undersigned
magistrate judge in Courtroom 2, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     3.   Defendant shall appear at the hearing.

     DATED this 13th day of December, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
